         Case 4:17-cv-00112-KGB Document 24 Filed 03/01/17 Page 1 of 1
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  OFFICE OF THE CLERK
                                600 WEST CAPITOL AVENUE
                                        Room A149
                              LITTLE ROCK, ARKANSAS 72201

JAMES W. McCORMACK                                                          PHONE 501-604-5351
      CLERK                                                                   FAX 501-604-5321


                                        March 1, 2017



Via Certified Mail: 7099 3400 0016 3858 5372

Ms. Myka Bono Sample
Saline County Circuit Clerk
200 North Main Street, Suite 117
Benton, Arkansas 72015

       Re:    Bank of America, N.A. v. Blodman, et al
              U.S. District Court Case No: 4:17CV00112 KGB
              Saline County Circuit Court No: 63CV-14-415-2

Dear Ms. Sample:

         Attached is a certified copy of an Order dated March 1, 2017, signed by Judge Kristine
G. Baker, that remands the above-styled matter to Saline County Circuit Court. Also enclosed is
a certified copy of the docket sheet from our court and copies of all documents that have been
filed in this matter since its removal from Saline County Circuit Court.

       If you have an questions regarding this matter, please call me at 501-604-5306.

                                            Sincerely,

                                            JAMES W. McCORMACK, CLERK


                                            By: /s/ Robbie Mixon
                                                    Deputy Clerk




Enclosures
